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                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 SOCIAL POSITIONING INPUT
 SYSTEMS, LLC,

                Plaintiff,
                                                     CASE No.: 2:21-cv-08563-JMV-MAH
        v.

 ANGELSENSE, INC.,

                Defendant.




       JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff Social Positioning Input Systems, LLC, and Defendant Angelsense, Inc., by their

respective undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all counter-claims asserted by the Defendant in this Action are dismissed without prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: July 19, 2021                                  Respectfully Submitted,

                                                      /s/ Mark A. Kriegel
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                                                      COUNSEL FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 19, 2021, I electronically filed the above document(s) with the
Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to all
registered counsel.
                                                      /s/ Mark A. Kriegel
                                                      MARK AARON KRIEGEL



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SO ORDERED this _____ day of _______________, 2021.


                                      _______________________________________
                                      UNITED STATES DISTRICT JUDGE




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